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 8   [Additional Counsel Appear on Signature Page]
 9
     Attorneys for Plaintiff and the Proposed Classes
10

11                  IN THE UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13

14   CHRISTOPHER RASH, on behalf of            CASE NO. 5:21-cv-00998-JWH-SP
     himself and all others similarly
15   situated,                                 PLAINTIFF’S MOTION FOR
16                                             CLASS CERTIFICATION

17                      Plaintiff,             Hearing Date: November 19, 2021
18         v.                                  Time: 9:00 a.m.
                                               Location: Courtroom 2
19

20   TELEBRANDS CORPORATION,                   Hon. John W. Holcomb

21

22                      Defendant.

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     PLAINTIFF’S MOTION FOR CLASS CERTIFICATION            NO. 5:21-cv-00998-JWH-SP
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 1   TO: THE CLERK OF THE COURT; and
 2   TO: DEFENDANT TELEBRANDS CORPORATION AND ITS
         ATTORNEYS OF RECORD:
 3
           PLEASE TAKE NOTICE that on November 19, 2021, at 9:00 a.m., in
 4
     Courtroom 2, of the U.S. District Court for the Central District of California,
 5
     George E. Brown, Jr. Federal Building and United States Courthouse, 3470 12th
 6
     St., Riverside, CA 92501. Plaintiff will move for class certification. This motion
 7
     will be made on the grounds that the prerequisites of Rule 23(a)—numerosity,
 8
     commonality, typicality and adequacy—are satisfied, as are the requirements of
 9
     Rule 23(b)(3), as questions of law and fact common to the class predominate over
10
     any questions affecting individual members and use of the class action device is
11
     superior to a multitude of individual actions.
12
           The motion is based on this Notice of Motion; the following Memorandum
13
     of Points and Authorities; the accompanying declaration of Christopher Rash and
14
     Michael F. Ram; the records and file in this action; and on such other matters as
15
     may be presented before or at the hearing of the motion.
16

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     PLAINTIFF’S MOTION FOR CLASS CERTIFICATION                 NO. 5:21-cv-00998-JWH-SP

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     PLAINTIFF’S MOTION FOR CLASS CERTIFICATION                                                     NO. 5:21-cv-00998-JWH-SP

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 1
                                   I.     INTRODUCTION
 2            Telebrands designs and develops, advertises, sells, and distributes
 3   expandable Silver Bullet™ garden water hoses (the “Silver Bullet Hose”)
 4   throughout California. Expandable garden water hoses like the Silver Bullet are
 5   designed to grow into a full-sized hose when in use and then shrink back to an
 6   original compact size when dry and after the first use. Defendant advertises the
 7   Silver Bullet Hoses as being reliable alternatives to conventional rubber garden
 8   hoses.
 9            In approximately June 2019, Plaintiff Christopher Rash, a fire fighter,
10   viewed a television infomercial for the Silver Bullet Hose, which touted its
11   qualities, including that it had a “DURABLE OUTER SHELL: Pocket Hose
12   Silver Bullet’s exclusive Bullet Shell outer casing won’t snag, tear, or wear; inner
13   tubing is kink-proof,”1 and led Mr. Rash to believe that it would be long lasting
14   and durable. In reliance on the representations in the informercial, Plaintiff Rash
15   purchased a 25-foot Silver Bullet Hose for approximately $19.99 on
16   Amazon.com. Mr. Rash believes the hose he purchased lasted for approximately
17   four (4) weeks before fraying, wearing out, developing pin-holes, and leaking.
18   Mr. Rash estimates that he used the hose fewer than 10 times.
19            Mr. Rash attempted to return the Silver Bullet Hose via Amazon but was
20   not permitted to do so, and his attempt to return the product to the Amazon
21   merchant, Purple Cow CSJ, LLC d/b/a Bulbhead the Home of Bright Ideas
22   (“Bulbhead”), were unsuccessful as well.
23            Telebrands knowingly and intentionally concealed that Silver Bullet Hoses
24   fail and leak when promoting its product on its website and in advertisements.
25   Defendant has ignored customers’ complaints and concerns and has failed to
26
     1
       https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/dp/B07JCD8TG7
27
     (last accessed September 30, 2021).
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 1   implement any changes to the Silver Bullet Hose to remedy the product defect.
 2         Plaintiff moves for class certification of a class of individuals defined as:
 3   ALL individuals and entities in California who purchased the Silver Bullet Hose,
 4   not directly from Defendant, from June 2017 to the present. The proposed class
 5   satisfies the numerosity, commonality, typicality, and adequacy requirements of
 6   Rule 23(a). The class has far more than 40 class members, the minimum number
 7   required by the Ninth Circuit to satisfy the numerosity requirement. Common
 8   questions of law and fact include whether the Silver Bullet Hose is defective,
 9   whether Telebrands knew of the defect, and whether Telebrands omitted to
10   disclose the defect to class members. Plaintiff and class members are all subject
11   to the same conduct by Telebrands, satisfying the typicality requirement. The
12   adequacy requirement is also satisfied because Plaintiff has no conflict with other
13   class members, has retained experienced counsel, and is diligently pursuing class
14   members’ claims.
15         The requirements of Rule 23(b)(3) are satisfied because there are numerous
16   questions of law and fact common to all members of the class that predominate
17   over any individualized issues. These common issues—the existence of a defect,
18   Telebrands’ knowledge of the defect, and Telebrands’ scheme to sell the Product
19   without disclosing the defect—predominate over any individualized issues that
20   courts recognize may be addressed in later proceedings. Granting class
21   certification is superior to a multitude of individual actions or, more likely, many
22   class members abandoning their claims and receiving no adequate relief, as it will
23   allow the claims of thousands of class members to be resolved in one fair and
24   efficient proceeding, that includes injunctive as well as monetary relief.
25         Because the proposed classes satisfy the requirements of Rule 23, Plaintiff
26   respectfully requests that the Court grant his motion for class certification,
27   appoint Plaintiff as class representative, and appoint the undersigned law firms as
     PLAINTIFF’S MOTION FOR CLASS CERTIFICATION                 NO. 5:21-cv-00998-JWH-SP

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 1   class counsel.
 2
                              II.    ISSUE TO BE DECIDED
 3
           Whether Plaintiff’s claims satisfy the requirements for class certification
 4
     under Federal Rule of Civil Procedure 23(a) and 23(b)(3).
 5
                            III.    FACTUAL BACKGROUND
 6
     A.    Plaintiff Rash’s Factual Allegations
 7
           In approximately June 2019, Plaintiff Rash viewed a television infomercial
 8
     for the Silver Bullet Hose, which touted its qualities, including that it had a
 9
     “DURABLE OUTER SHELL: Pocket Hose Silver Bullet’s exclusive Bullet Shell
10
     outer casing won’t snag, tear, or wear; inner tubing is kink-proof,”2 and led Mr.
11
     Rash to believe that it would be long lasting and durable. In reliance on the
12
     representations in the informercial, Plaintiff Rash purchased a 25-foot Silver
13
     Bullet Hose for approximately $19.99 on Amazon.com. Mr. Rash believes the
14
     hose he purchased lasted for approximately four (4) weeks before fraying,
15
     wearing out, developing pin-holes, and leaking. Mr. Rash estimates that he used
16
     the hose fewer than 10 times. Doc No. 1 Class Action Complaint (“Complaint”)
17
     (ECF 1), ¶ 15.
18
           Mr. Rash then attempted to return the Silver Bullet Hose via Amazon but
19
     was not permitted to do so. Instead, he was directed to the product’s
20
     manufacturer, “Bulbhead.” According to Amazon’s website, Bulbhead is the
21
     exclusive reseller of products from Telebrands and Bulbhead.3 Id. ¶ 16. Mr. Rash
22
     then attempted to return the Silver Bullet Hose to Bulbhead, but Bulbhead made it
23

24
     2
25     https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/dp/B07JCD8TG7
     (last accessed September 30, 2021).
26   3
       https://www.amazon.com/sp?_encoding=UTF8&asin=&isAmazonFulfilled=1&isCBA
     =&marketplaceID=ATVPDKIKX0DER&orderID=&protocol=current&seller=A313TA
27
     OOW7I8GZ&sshmPath= (last accessed September 30, 2021).
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 1   so difficult and burdensome that he ultimately gave up. Id. ¶ 17.
 2          On July 18, 2019, disappointed by Defendant’s failure to address or
 3   remedy the defects and problems with his Silver Bullet Hose, Mr. Rash posted the
 4   following complaint and two photos (showing the pin hole leaking) on Amazon’s
 5   website:
 6
            Customer Review
 7

 8

 9
            Chris Rash
10
            1.0 out of 5 stars The single jacket covering the rubber hose wears
11
            easily causing rubber hose to burst
12          Reviewed in the United States on July 18, 2019
            Color: 75 Feet
13
            As a firefighter, I was curious to see how this hose performed. I
14          purchased a 25' hose and used it for four (4) weeks. During that time,
            I used the hose twice a week to hose down my patio and walkways.
15
            The hose worked well. However, I noticed that the single jacket sheath
16          that is wrapped around the interior rubber hose, easily began to fray
            while being drug across the concrete, causing the interior rubber hose
17
            to be exposed and burst. The nozzle worked well at first, but after each
18          use, the effectiveness of the stream became less and less, to where it
            could not maintain a consistent straight stream. This is hose is a great
19
            idea, but the outer sheath needs to be double jacketed and the nozzle
20          needs improvement.
21
     Id. ¶ 18.
22

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     PLAINTIFF’S MOTION FOR CLASS CERTIFICATION                 NO. 5:21-cv-00998-JWH-SP

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 1           As described in the review and shown in the photos below, Mr. Rash’s
 2   Silver Bullet Hose frayed and developed pin-holes, which rendered it useless.
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     Id. ¶ 19.
22
             Mr. Rash would not have purchased the Silver Bullet Hose had Defendant
23
     disclosed the propensity for the Silver Bullet to fail. Defendant represents that
24
     Silver Bullet Hoses contain a “DURABLE OUTER SHELL” and that “Silver
25
     Bullet’s™ exclusive Bullet Shell outer casing won’t snag, tear, or wear.”4 Id ¶
26
     4
         https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/dp/B07JCD8TG7;
27
     PLAINTIFF’S MOTION FOR CLASS CERTIFICATION                 NO. 5:21-cv-00998-JWH-SP

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 1   20.
 2
     B.     Telebrands and the Silver Bullet Hose
 3          Telebrands, the original creator of the “As Seen On TV” logo, is one of the
 4   oldest and most recognized companies in the direct response television marketing
 5   industry (“DRTV”). DRTV employs aggressive marketing campaigns designed
 6   to generate an immediate response from consumers in the form of sales or product
 7   orders. With DRTV campaigns, the viewer’s response is directly with the
 8   marketer, in this case Telebrands. Id. ¶ 21.
 9          The “As Seen On TV” advertisement for the Silver Bullet Hoses claims the
10   hose will not “tear or burst.” Id. ¶ 22.
11          On websites promoting the Silver Bullet Hose5 (the “Silver Bullet
12   Website”) the product is described as “hassle free,” “making other hoses
13   obsolete,” and having an outer casing that is “resistant” to “tearing and wearing.”
14   Id. ¶ 23.
15          In addition, the Silver Bullet Website boasts:
16
                  Things that used to be big and bulky now fit in your pocket -
17
                  even your hose! From the makers of the #1 expandable hose in
18                the world comes another amazing Pocket Hose®, the Pocket
                  Hose® Silver Bullet™. The new Silver Bullet™ is the hassle-
19
                  free hose. Just turn on the water and watch the Silver Bullet™
20                grow from pocket size to supersize. It's the hands-free hose that
                  grows! Then, when you're finished, just turn off the water and
21
                  Silver Bullet™ shrinks to a super-light Pocket Hose® again.
22                Pocket Hose® Silver Bullet™ stores easily and is perfect for
                  boats and RVs. The exclusive Bullet Shell outer casing won't
23

24

25
     see also https://mypockethosesilverBullet.com/?ref=mypockethosesilverBullet.com
26   (both last accessed September 30, 2021).
     5
       https://mypockethosesilverBullet.com/?ref=mypockethosesilverBullet.com (last
27
     accessed September 30, 2021).
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 1                snag, tear, or wear.6 Id. ¶ 24 (emphasis added).
           The Silver Bullet Website claims, “Over 100 Million Satisfied Customers,”
 2
     “100% Percent Satisfaction Guaranteed,” and “Easy Returns.” The Website
 3
     prominently claims “100% Satisfaction Guarantee.”7 Id. ¶ 25.
 4
           Silver Bullet Hoses are marketed and sold for use as a reliable water hose.
 5
     Yet, Defendant has concealed from and/or failed to disclose to Plaintiff and
 6
     members of the Classes the defective nature of the Silver Bullet Hoses, which
 7
     shortly after the first use are prone to tears, pin-holes, and leaks. Id ¶ 26.
 8
           Defendant has used and continues to use a variety of methods to
 9
     communicate representations about the durability and quality of the Silver Bullet
10
     Hose to the general public. These uniform representations were and are published
11
     on Internet sites, including Amazon.com, and on television. Defendant touts the
12
     hoses to have a “DURABLE OUTER SHELL” and “exclusive . . . outer casing”
13
     that “won’t snag, tear, or wear.”8 Defendant also touts that the hose “Grows to
14
     25, 50 75 or 100 Feet!” Id. ¶ 27.
15
           Proper testing of the Silver Bullet Hoses by Defendant would have
16
     revealed the hoses are not durable and do indeed tear. Id. ¶ 28. Silver Bullet
17
     Hoses do not conform to Defendant’s numerous misrepresentations. Id. ¶ 29.
18

19   C.    Defendant’s Knowledge of and Notice of the Defects.
20         Since at least 2009, Defendant has been aware of the Silver Bullet Hose
21   defects. Id. ¶ 30.
22         At minimum, three class action lawsuits were filed against Telebrands
23
     6
       https://mypockethosesilverBullet.com/?ref=mypockethosesilverBullet.com (last
24   accessed September 30, 2021).
     7
25     https://mypockethosesilverBullet.com/?ref=mypockethosesilverBullet.com (last
     accessed September 30, 2021).
26   8
       https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/dp/B07JCD8TG7;
     see also https://mypockethosesilverBullet.com/?ref=mypockethosesilverBullet.com
27
     (both last accessed September 30, 2021).
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 1   concerning the Silver Bullet Hose defects and leaks, similar in nature to the
 2   claims alleged here. See Alex Arreguin Jr. v. Telebrands, Case No.
 3   CIVRS1307798, Sup. Ct. of Cal. (San Bernadino County) (complaint filed on
 4   November 6, 2009, and 2014 Settlement Agreement and Release,9 page 4, states
 5   allegations concerning “false and misleading statements in its labeling and
 6   advertising of the Covered Products, including that the product was defective, and
 7   that they suffered injury as a result of those alleged statements”); Inocencio v.
 8   Telebrands Corp., L-4378-16, Sup. Ct. of N.J. (Bergen County) (amended
 9   complaint filed on August 31, 2016, and 2016 Settlement Agreement and
10   Release,10 page 1, states allegations concerning “false and misleading claims
11   about the durability, construction, and suitability of the Pocket Hose products as
12   garden hoses”); Klemballa v. Telebrands Corp., 14-cv-01245 (D.N.J.) (complaint
13   filed in 2014). Complaint ¶ 31.
14         In addition, consumers have made detailed online complaints about the
15   Silver Bullet Hose. These complaints include dates, details about the defect and
16   negative reactions to how Defendant handled them. All of this information put
17   Defendant on notice concerning the Silver Bullet Hoses’ defects. One purchaser
18   summed up the Silver Bullet as “basically a balloon in a sock.” A sampling of
19   these online complaints is set forth in paragraph 32a. through w. of the
20   Complaint.
21         Defendant knowingly and intentionally concealed that Silver Bullet Hoses
22   fail and leak when promoting the product on their website and in advertisements.
23   Id. ¶ 33. Defendant has ignored customers’ complaints and concerns and has
24   failed to implement any changes to the Silver Bullet Hose to remedy the product
25   9
       https://www.truthinadvertising.org/wp-content/uploads/2014/04/Arreguin-v.-
26   Telebrands-settlement-agreement-.pdf (last accessed September 30, 2021).
     10
        https://www.truthinadvertising.org/wp-content/uploads/2016/12/Stipulation-of-
27
     Settlement.pdf (last accessed September 30, 2021).
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 1   defects. Id. ¶ 34.
 2
     D.      Telebrands’ Actions Have Injured Plaintiff and the Class.
 3           Telebrands knew and failed to disclose that the Silver Bullet Hose is not
 4   properly designed, tested, or developed to withstand normal use, failing even
 5   within the warranty period. The Silver Bullet Hose reached the consuming
 6   public, including Plaintiff, without substantial correction of its defect and without
 7   warning of the latent defect alleged here. Id. ¶ 35.
 8           Telebrands continues to advertise and sell the Silver Bullet Hose, without
 9   disclosing to Plaintiff and members of the Classes, that the Silver Bullet Hose is
10   defectively formulated and designed. This information would be material to a
11   reasonable consumer in deciding whether to purchase the product, and Defendant
12   had a duty to disclose these facts. Id. ¶ 36.
13           Telebrands did not provide warnings with the Silver Bullet Hose or
14   otherwise warn consumers of the problems Defendant knew existed. Rash Decl. ¶
15   10. To this day, Defendant has concealed its knowledge of the Silver Bullet Hose
16   defects from the public. Furthermore, to this day, Defendant has not issued a
17   recall. Complaint, ¶ 37. The Silver Bullet Hose, which fails after a few uses, does
18   not perform in accordance with the reasonable expectations of Plaintiff and
19   members of the Classes. Complaint, ¶ 38; Rash Decl. ¶ 11.
20           Had Defendant disclosed the truth about the inadequate design, reliability
21   and performance of the Silver Bullet Hose, Plaintiff and members of the Classes
22   would not have purchased the Silver Bullet™ Hose. Complaint, ¶ 39; Rash Decl.
23   ¶ 12.
24           Because the defects in the Silver Bullet Hose are latent and not detectable
25   until manifestation, Plaintiff and the members of the Classes were not reasonably
26   able to discover Silver Bullet Hoses were defective, even with the exercise of due
27   diligence. Complaint, ¶ 40.
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 1         As a result of Defendant’s misconduct, Plaintiff and members of the
 2   Classes have suffered actual damages and will continue to do and require Plaintiff
 3   and members of the Classes to expend money to repair or replace their Silver
 4   Bullet Hoses. Complaint, ¶ 41; Rash Decl. ¶ 9.
 5         The damages suffered by Plaintiff and members of the Classes were not
 6   foreseeable from the perspective of Plaintiff and the Class, and Defendant did not
 7   warn Plaintiff and the Class that the Silver Bullet Hoses would fail. Complaint,
 8   ¶ 42; Rash Decl. ¶ 4.
 9         It is unlikely that most members of the Classes could afford to seek
10   recovery against Defendant on their own. A class action is therefore the only
11   viable, economical, and rational means for members of the Classes to recover
12   from Defendant for the damages Defendant has caused.
13
                IV.     CLASS CERTIFICATION SHOULD BE GRANTED
14
           Plaintiff request certification of one class consisting of individuals in the
15
     State of California who purchased the Silver Bullet Hose. As discussed below,
16
     each of the proposed classes satisfies the requirements of Rule 23(a) and (b)(3).
17
     The Rule 23(a) requirements are satisfied.
18
     A.    The Rule 23(a) requirements are satisfied.
19
           1.         The classes are so numerous that joinder is impracticable. Rule 23
20
                      (a)(1).
21
           Generally, a class with forty or more members satisfies numerosity. Rannis
22
     v. Recchia, 380 Fed. App’x 646, 651 (9th Cir. 2010). The Silver Bullet Hose is
23
     sold to California residents via numerous major retail outlets, including Amazon,
24
     Home Depot, and Walmart. On Amazon alone, there are thousands of reviews
25

26
27
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 1   posted for the Silver Bullet Hose posted by purchasers.11 Similarly, on
 2   HomeDepot.com there are nearly 4,000 purchaser reviews of the Silver Bullet
 3   Hose.12 Given these thousands of reviews, which likely only represent a small
 4   fraction of purchasers, it is reasonable to infer that the Class well-exceeds 40
 5   members and certainly reaches well into the thousands. The class therefore
 6   satisfies the numerosity requirement.
 7
            2.     There are issues of law and fact common to all class members. Rule
 8                 23 (a)(2).
 9          The commonality requirement has “‘been construed permissively’ and
10   ‘[a]ll questions of fact and law need not be common to satisfy the rule.’” Ellis v.
11   Costco Wholesale Corp., 657 F.3d 970, 981 (9th Cir. 2011) (alteration in original)
12   (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998)); see
13   also Rodriguez v. Hayes, 591 F.3d 1105, 1122 (9th Cir. 2010) (“common” does
14   not mean “complete congruence”). Commonality is thus satisfied where the
15   claims of all class members “depend upon a common contention . . . of such a
16   nature that it is capable of classwide resolution—which means that determination
17   of its truth or falsity will resolve an issue that is central to the validity of each one
18   of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350
19   (2011). This is true even where “a single common question” exists. Id. at 349-50.
20          This case presents several common questions, including: (1) whether the
21   Silver Bullet Hose is defective; (2) whether Telebrands knew about the alleged
22   defect; (3) whether Telebrands failed to disclose the alleged defect; and
23
     11
        See https://www.amazon.com/Pocket-Hose-Original-Silver-
24   BulbHead/dp/B07JCD8TG7 (last visited September 27, 2021);
25   https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/dp/B07JQZWJJS
     (last visited September 27, 2021).
26   12
        See https://www.homedepot.com/p/Pocket-Hose-Silver-Bullet-3-4-in-Dia-x-50-ft-
     Standard-Duty-Expandable-Water-Hose-13397-6/306703479 (last visited September
27
     27, 2021).
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 1   (4) whether Telebrands’ conduct violated California consumer protection and
 2   laws and common law. See Wolin v. Jaguar Land Rover N. Am., LLC, 617 F.3d
 3   1168, 1173 (9th Cir. 2010) (identifying similar common questions); Complaint ¶
 4   53.
 5
           3.     Plaintiff’s claims are typical of class members’ claims. Rule 23
 6                (a)(3).
 7          “The purpose of the typicality requirement is to assure that the interest of
 8   the named representative aligns with the interests of the class.” Wolin, 617 F.3d at
 9   1175 (quoting Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)).
10   Typicality exists when the class representatives and class members are subjected
11   to and injured by the same course of conduct. Ellis, 657 F.3d at 984. “Typicality
12   refers to the nature of the claim or defense of the class representative, and not to
13   the specific facts from which it arose or the relief sought.” Id. (quoting Hanon,
14   976 F.2d at 508). Therefore, “[l]ike the commonality requirement, the typicality
15   requirement is ‘permissive’ and requires only that the representative’s claims are
16   ‘reasonably co-extensive with those of absent class members; they need not be
17   substantially identical.’” Rodriguez, 591 F.3d at 1124 (quoting Hanlon 150 F.3d
18   at 1020).
19         Plaintiff’s claims are typical of the claims of all proposed class members
20   because they were subjected to the same deceptive conduct by Telebrands: failure
21   to disclose the common defect in the Silver Bullet Hose. Plaintiff and class
22   members are pursuing the same legal theories and have all been injured by
23   Telebrands’ conduct because of the undisclosed defect in the Silver Bullet Hoses
24   they purchased.
25         4.     Plaintiff will adequately represent the classes. Rule 23 (a)(4).
26         The adequacy requirement is satisfied when the class representatives will
27   “fairly and adequately protect the interests of the class.” To make this
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 1   determination, “courts must resolve two questions: ‘(1) do the named Plaintiff
 2   and their counsel have any conflicts of interest with other class members and (2)
 3   will the named Plaintiff and their counsel prosecute the action vigorously on
 4   behalf of the class?’” Ellis, 657 F.3d at 985 (quoting Hanlon, 150 F.3d at 1020).
 5   “Adequate representation depends on, among other factors, an absence of
 6   antagonism between representatives and absentees, and a sharing of interest
 7   between representatives and absentees.” Id. In considering the adequacy of
 8   Plaintiff’ counsel, the court must consider:
 9

10         (i) the work counsel has done in identifying or investigating potential
           claims in the action;
11         (ii) counsel’s experience in handling class actions, other complex
12         litigation, and the types of claims asserted in the action;
           (iii) counsel’s knowledge of the applicable law; and
13         (iv) the resources that counsel will commit to representing the class.”
14   Fed. R. Civ. P. 23(g)(1)(A).
15         Plaintiff has already shown that he will vigorously pursue these claims on
16   behalf of class members. Rash Decl., ¶ 1, Declaration of Michael F. Ram (“Ram
17   Decl.”), ¶ 4. Because he has experienced the same defect in his Silver Bullet Hose
18   as all class members, Plaintiff has no conflicts with other members of the classes.
19   Plaintiff has retained counsel with substantial experience litigating lawsuits like
20   this one. Ram Decl. ¶ 3. Plaintiffs’ counsel have devoted a significant amount of
21   time to this case and will continue to commit the resources necessary to represent
22   the class. Id. ¶¶ 2-3. Plaintiff and his counsel have demonstrated their
23   commitment to prosecuting this case on behalf of all class members.
24
     B.    The Rule 23(b)(3) requirements are satisfied.
25
           Class certification is appropriate under Rule 23(b)(3) when “questions of
26
     law or fact common to the members of the class predominate over any question
27
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 1   affecting only individual members, and . . . a class action is superior to other
 2   available methods for the fair and efficient adjudication of the controversy.” Fed.
 3   R. Civ. P. 23(b)(3). Both requirements are satisfied.
 4
           1.     Common issues predominate over any individual issues.
 5
           The predominance requirement “tests whether proposed classes are
 6
     sufficiently cohesive to warrant adjudication by representation.” Amchem Prods.,
 7
     Inc. v. Windsor, 521 U.S. 591, 623-24 (1997). Predominance is satisfied when
 8
     “the common, aggregation-enabling issues in the case are more prevalent or
 9
     important than the non-common, aggregation-defeating, individual issues.” Tyson
10
     Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016) (citation omitted). “[A]
11
     common question is one where ‘the same evidence will suffice for each member
12
     to make a prima facie showing [or] the issue is susceptible to generalized, class-
13
     wide proof.” Id. (citation omitted). A plaintiff does not need to “prove that each
14
     ‘element of her claim is susceptible to classwide proof.’” Amgen, Inc. v. Conn.
15
     Ret. Plans & Trust Funds, 133 S. Ct. 1184, 1196 (2013) (citation and alterations
16
     omitted). Rather, “[w]hen common questions present a significant aspect of the
17
     case and they can be resolved for all members of the class in a single
18
     adjudication, there is clear justification for handling the dispute on a
19
     representative rather than on an individual basis.” Hanlon, 150 F.3d at 1022
20
     (citation omitted).
21
           This case presents significant common questions. Plaintiff alleges that he
22
     and all class members purchased Silver Bullet Hoses with a common undisclosed
23
     defect. See Butler v. Sears, Roebuck & Co., 727 F.3d 796, 801 (7th Cir. 2013)
24
     (certification was appropriate where “[t]here is a single, central, common issue of
25
     liability: whether the Sears washing machine was defective”); Order at 19, Wilson
26
     v. Metals USA, Inc., No. 2:12-cv-005680-KJM-CJD (E.D. Cal. July 5, 2016),
27
     ECF No. 93 (“Whether the tiles were in fact UV-resistant therefore appears a
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 1   common question of law and fact apt for resolution by class action”). Trial will
 2   focus primarily on Telebrands’ conduct and will consist of substantial common
 3   evidence, including documents, testimony, and expert analysis relating to the
 4   existence of the defect and Telebrands’ knowledge and concealment of the defect.
 5   Plaintiff asserts claims under the consumer protection statutes of California and
 6   the common law of implied warranty and unjust enrichment.
 7         As discussed below, the elements of these claims present predominantly
 8   common issues. See Erica P. John Fund, Inc. v. Halliburton, 131 S. Ct. 2179,
 9   2184 (2011) (“Considering whether questions of law or fact common to class
10   members predominate begins, of course, with the elements of the underlying
11   action.”). Although there are inevitably some individual issues, as is always the
12   case in class actions, certification is still appropriate given the predominantly
13   common issues to be resolved for the class. Any remaining individualized issues
14   can be effectively managed using well-established procedural tools. As the
15   Supreme Court explained, “[w]hen one or more of the central issues in the action
16   are common to the class and can be said to predominate, the action may be
17   considered proper under Rule 23(b)(3) even though other important matters will
18   have to be tried separately, such as damages or affirmative defenses peculiar to
19   some individual class members.” Tyson Foods, 136 S. Ct. at 1045 (citation
20   omitted); see also Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1128 (9th Cir.
21   2017) (noting “the variety of procedural tools courts can use to manage the
22   administrative burdens of class litigation.”).
23
                  a.     Common issues predominate with respect to the CLRA
24                       and UCL.
25         The California Consumers Legal Remedies Act (CLRA) prohibits “unfair
26   methods of competition and unfair or deceptive acts or practices.” Cal. Civ. Code
27   § 1770(a). The statute provides relief to “any consumer who suffers any damages
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 1   as a result of the use or employment” of any unlawful “method, act, or practice
 2   declared to be unlawful by [the CLRA].” § 1780(a). A plaintiff pursuing a CLRA
 3   claim must “show not only that the defendant’s conduct was deceptive but that
 4   the deception caused them harm.” In re Vioxx Class Cases, 180 Cal. App. 4th
 5   116, 129 (2009). Whether Telebrands’ conduct was deceptive is an issue common
 6   to all class members. An omission is actionable under the CLRA “when the
 7   omission is contrary to a representation actually made by the defendant or where
 8   a duty to disclose exists.” Gold v. Lumber Liquidators, Inc., No. 3:14-cv-05373-
 9   TEH, 2015 WL 7888906, at *7 (N.D. Cal. Nov. 30, 2015) (citation omitted). A
10   duty to disclose exists when a defendant “has exclusive knowledge of material
11   facts not known to the plaintiff.” Norcia v. Samsung Telecomm. Am., LLC, No.
12   14-cv-00582-JD, 2015 WL 4967247, at *6 (N.D. Cal. Aug. 20, 2015) (quoting
13   LiMandri v. Judkins, 52 Cal. App. 4th 326, 336 (1997)).
14         Plaintiff will use common evidence to prove that Telebrands exclusively
15   knew and did not disclose that its hoses are not fit for their intended purpose, and
16   that this omission was contrary to its representations that the Silver Bullet Hose
17   has a “DURABLE OUTER SHELL,” that the outer casing “won’t snag, tear, or
18   wear,” that the hose is “Super Durable,” and “the ONLY Hose You’ll Ever
19   Need.” Complaint ¶¶3-5. Plaintiff will show via common evidence that
20   information about the existence of the defect was solely within Telebrands’
21   control and that Plaintiff and the Class could not have had access to that
22   information at the time they purchased a Silver Bullet Hose. Whether Defendant
23   made uniform omissions from the Silver Bullet Hoses, and whether those
24   omissions are material and likely to deceive a reasonable consumer, are key to
25   both the CLRA and UCL claims, and can be determined classwide.
26         Plaintiff will also use common evidence to prove causation, which may be
27   established on a classwide basis by proving the materiality of the represented or
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 1   omitted information. McAdams v. Monier, Inc., 182 Cal. App. 4th 174, 183-84
 2   (2010). An omission is material “if a reasonable man would attach importance to
 3   its existence or nonexistence in determining his choice of action in the transaction
 4   in question.” In re Steroid Hormone Prod. Cases, 181 Cal. App. 4th 145, 157
 5   (2010) (citation omitted). As the Court has recognized, “It seems difficult to
 6   argue that a reasonable consumer would not find the alleged misrepresentations
 7   and omissions to be important to the purchasing decision at issue.” Gold, 2015
 8   WL 7888906, at *9; see also Keegan v. Am. Honda Motor Co., 284 F.R.D. 504,
 9   531 (C.D. Cal. June 12, 2012) (Plaintiff could show an omission was material by
10   demonstrating that the alleged defect was likely to manifest in premature tire
11   wear in class members’ vehicles). Materiality is evaluated using an objective,
12   reasonable person standard, and will turn on common evidence. Edwards v. Ford
13   Motor Co., 603 Fed. App’x 538, 541 (9th Cir. 2015).
14          The California Unfair Competition Law (UCL) prohibits unlawful, unfair
15   and fraudulent business practices. Cal. Bus. & Prof. Code § 17200.13 Plaintiff
16   contend that Telebrands violated the unlawful and unfair prongs of the UCL.
17   Plaintiff’ claim under the unlawful prong of the UCL is based on the CLRA claim
18   and will be proven with the same common evidence. Plaintiff can show that
19   Telebrands’ conduct was unfair by proving that “the utility of the defendant’s
20   conduct” outweighs “the gravity of the harm” to class members, which will
21   require examining the impact on class members “balanced against the reasons,
22   justification, and motives” of Telebrands. Perryman v. Litton Loan Serv., LP, 81
23   F. Supp. 3d 893, 899 (N.D. Cal. 2015) (citations omitted). This balancing test
24   focuses on Telebrands’ conduct and therefore raises common issues. See Gaudin
25

26   13
       Because the UCL protects all purchasers, not just consumers, a class certified with
     respect to this claim should not be restricted to individuals who purchased the hoses for
27
     personal, family, or household use. Cal. Bus. & Prof. Code §§ 17201 & 17204.
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 1   v. Saxon Mortg. Serv., Inc., 297 F.R.D. 417, 430 (N.D. Cal. 2013).
 2         Plaintiff will not have to present “individualized proof of deception,
 3   reliance and injury” to prove their UCL claim. Pulaski & Middleman, LLC v.
 4   Google, Inc., 802 F.3d 979, 986 (9th Cir. 2015) (quoting In re Tobacco II Cases,
 5   46 Cal. 4th 298, 320 (2009)). Plaintiff need only “show that members of the
 6   public are likely to be deceived” by Telebrands’ conduct. Id. at 985-86 (“[I]n
 7   effect, California has created what amounts to a conclusive presumption that
 8   when a defendant puts out tainted bait and a person sees it and bites, the
 9   defendant has caused an injury.”). As with the CLRA, Plaintiff can prove reliance
10   by demonstrating the materiality of Telebrands’ omission. Gold, 2015 WL
11   7888906, (citing Tobacco, 46 Cal. 4th at 326-27). Materiality under the UCL “is
12   an objective standard that is susceptible to common proof.” Wolph v. Acer Am.
13   Corp., 272 F.R.D. 477, 488 (N.D. Cal. 2011).
14         Plaintiff seeks classwide restitution and injunctive relief for the California
15   class. Cal. Bus. & Prof. Code § 17203; Cal. Civ. Code § 1780; see also Colgan v.
16   Leatherman Tool Grp., Inc., 135 Cal. App. 4th 663, 694 (2006) (“There is
17   nothing to suggest that the restitution remedy provided under the CLRA should
18   be treated differently than the restitution remedies provided under the False
19   Advertising or Unfair Competition Laws.”). Plaintiff contends that class members
20   are entitled to restitution of the full purchase price because all of the hoses suffer
21   from the concealed defect that renders the product useless for its intended
22   purpose. See Pulaski, 802 F.3d at 989 (“restitution is based on what a purchaser
23   would have paid at the time of purchase had the purchaser received all the
24   information”); In re Morning Song Bird Food Litig., 320F.R.D. 540, 556 (S.D.
25   Cal. 2017) (approving a full refund class damages model because it was
26   consistent with the plaintiff’s theory of liability and could be measured on a class-
27   wide basis, thus satisfying Comcast Corp. v. Behrend, 569 U.S. 27 (2013)); see
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 1   also In re Tobacco Cases II, 240 Cal. App. 4th 779, 795, 192 Cal. Rptr. 3d 881,
 2   895 (2015) (“A full refund may be available in a UCL case when the plaintiffs
 3   prove the product had no value to them.”). Class members’ entitlement to
 4   restitution is a common issue. Id. at 986 (“[A] court need not make individual
 5   determinations regarding entitlement to restitution” because “restitution is
 6   available on a classwide basis once the class representative makes the threshold
 7   showing of liability under the UCL.”). Plaintiff also seek actual injunctive relief
 8   under the CLRA and the UCL. Cal. Civ. Code § 1782(d). This request is
 9   common with respect to the entire class.
10
                  b.     Common issues predominate with respect to implied
11                       warranty and unjust enrichment.
12         Common issues also predominate with respect to the implied warranty
13   claims. An implied warranty of merchantability guarantees that goods “(1) Pass
14   without objection in the trade under the contract description; (2) Are fit for the
15   ordinary purposes for which such goods are used; (3) Are adequately contained,
16   packaged, and labeled; [and] (4) Conform to the promises or affirmations of fact
17   made on the container or label.’” Cal. Civ. Code §1791.1(a). Whether a product is
18   fit for its ordinary purpose “focuses on the expectations for the performance of
19   the product when used in the customary, usual[,] and reasonably foreseeable
20   manners.” Tait v. BSH Home Appliances Corp., 289 F.R.D. 466, 485 (C.D. Cal.
21   2012). None of these elements raise any individual issues. Classwide evidence
22   will show that the Silver Bullet Hose defect is common to all products sold to the
23   Class and that the defect makes the product unfit for its ordinary purpose as a
24   hose. This is sufficient to satisfy commonality of this claim for class certification
25   purposes. See Keegan v. Am. Honda Motor Co., 284 F.R.D. 504, 537 (C.D. Cal.
26   2012). (“If plaintiffs, on the other hand, can demonstrate that the specification is
27   substantially certain to result in premature and excessive tire wear that renders the
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 1   vehicles unfit for driving, they will prevail. The breach of implied warranty claim
 2   is therefore susceptible of common proof, and the court will certify the implied
 3   warranty claim for class treatment.”).
 4         Finally, common issues predominate with respect to unjust enrichment.
 5   For this claim, common evidence will show that Defendant’s failure to disclose
 6   the known defect in the Silver Bullet Hose induced Plaintiff and the Class to
 7   purchase the product, thus unjustly enriching Defendant. See Keilholtz v. Lennox
 8   Hearth Prod. Inc., 268 F.R.D. 330, 343 (N.D. Cal. 2010). (“Plaintiffs sufficiently
 9   show that common factual issues predominate as to [unjust enrichment]. The
10   common question of whether Defendants' alleged failure to warn . . . induced
11   Plaintiffs and unnamed class members to buy homes with those fireplaces
12   installed therein predominates over any questions affecting only individual
13   members.”); see also Westway World Travel, Inc. v. AMR Corp., 218 F.R.D. 223,
14   224 (C.D. Cal. 2003) (certifying nation-wide class of unjust enrichment
15   claimants)
16
           2.     Class certification is superior to individual actions.
17
           The purpose of the superiority requirement is to ensure judicial economy
18
     and that a class action is the “most efficient and effective means of resolving the
19
     controversy.” Wolin, 617 F.3d at 1175 (citation omitted). Courts consider four
20
     factors in evaluating the superiority requirement:
21          (A) the class members’ interests in individually controlling the
            prosecution or defense of separate actions;
22
            (B) the extent and nature of any litigation concerning the controversy
23          already begun by or against class members;
            (C) the desirability or undesirability of concentrating the litigation of
24
            the claims in the particular forum; and
25          (D) the likely difficulties in managing a class action.
26   Fed. R. Civ. P. 23(b)(3). All of these factors support class certification. The high
27   cost of pursuing claims against Defendant on an individual basis, including expert
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 1   and testing expenses, outweighs the potential recovery for class members. See
 2   Wolin, 617 F.3d at 1175 (“Where recovery on an individual basis would be
 3   dwarfed by the cost of litigating on an individual basis, this factor weighs in favor
 4   of class certification.”). It is also “far more efficient” to litigate Plaintiff’ claims
 5   based on a common defect “on a classwide basis rather than in thousands of
 6   individual and overlapping suits.” Id. at 1176; see also Bibo v. Fed. Express, Inc.,
 7   No. C 07-2505 TEH, 2009 WL 1068880, at *9 (N.D. Cal. Apr. 21, 2009)
 8   (“avoiding repetitious suits before the courts of this state is a valid factor
 9   weighing toward class treatment of the claims”). Because of the large number of
10   class members, the high cost of individual proof, and the common issues at the
11   heart of the claims, and the need for injunctive relief, the class action device is the
12   superior method for adjudicating these claims.
13
                                     V.         CONCLUSION
14           Plaintiff respectfully request that the Court enter an order certifying the
15   proposed Class, appointing Plaintiff to serve as class representatives, appointing
16   the undersigned to serve as class counsel, and directing Plaintiff to submit a
17   proposed notice plan and form of notice within a reasonable time following entry
18   of this order.
19
             RESPECTFULLY SUBMITTED AND DATED this 8th day of October,
20
     2021.
21                                        By:      /s/ Michael F. Ram
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